                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                     No. 1:18-cv-910

THERESA SCHMITZ,                                               )
                                                               )
                  Plaintiff,                                   )
                                                               )          NOTICE OF REMOVAL
                  v.                                           )
                                                               )
ALAMANCE-BURLINGTON BOARD OF                                   )
EDUCATION,                                                     )
                                                               )
                  Defendant.                                   )

         Defendant Alamance-Burlington Board of Education ("the Board"), hereby gives notice

that it is removing this action to the United States District Court for the Middle District of North

Carolina, and as grounds therefore states as follows:

         1.       Plaintiff filed this action in Guilford County Superior Court 1 captioned as Theresa

Schmitz v. Alamance-Burlington Board of Education, d/b/a Alamance-Burlington School System,

Case No. 18-CVS-8269, on October 5, 2018 (herein after “Civil Action”). The Complaint and

Civil Summons are attached as Exhibit “A” to this Notice.

         2.       Defendant received the Complaint and Civil Summons on October 1, 2018.

         3.       This action arises under federal law in that the plaintiff is seeking legal and

equitable relief under 42 U.S.C. § 12101 et seq. (the Americans with Disabilities Act) and 42

U.S.C. § 12117(a). Accordingly, the federal courts have jurisdiction of the matter pursuant to 28

U.S.C. §§ 1331 and 1343.

         4.       Defendant is entitled to remove this entire action pursuant to 28 U.S.C. § 1441.

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  While no longer relevant upon removal of this matter to the United States District Court for the Middle District of
North Carolina, the Board notes that Plaintiff’s cause of action, if any, against the Alamance-Burlington Board of
Education arose in Alamance County. In the event that any of Plaintiffs claims are remanded to the Superior Courts
of North Carolina, Alamance County Superior Court, and not Guilford County Superior Court, is the proper venue
for this action pursuant to N.C. Gen. Stat. § 1-77(2).




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       5.      The state law claims contained in the Complaint are removed pursuant to the

doctrine of supplemental jurisdiction as provided by 28 U.S.C. § 1441(c).

       6.      The Notice of Removal is timely filed under 28 U.S.C. § 1446(b) in that it is filed

within 30 days of defendant’s receipt of the initial pleading purporting to set forth the claim for

relief on which this action is based.

       WHEREFORE, defendant hereby removes the Civil Action from the Superior Court of

North Carolina to this Court.

       Respectfully submitted, this the 30th day of October 2018.


                                             THARRINGTON SMITH, L.L.P.

                                             /s/ Adam S. Mitchell
                                             Adam S. Mitchell
                                             N.C. State Bar No. 36949
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                                             Attorneys for Defendants




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                              CERTIFICATE OF SERVICE

        IT IS HEREBY CERTIFIED that a copy of the foregoing NOTICE OF REMOVAL was
electronically filed with the Clerk of the Court using CM/ECF, and was mailed via U.S. mail,
postage prepaid, to the following:

              Jonathan Wall
              Higgins Benjamin, PLLC
              301 N. Elm Street, Suite 800
              Greensboro, NC 27401-2260
              Attorney for Plaintiff


       This the 30th day of October 2018.


                                             THARRINGTON SMITH, L.L.P.

                                             /s/ Adam S. Mitchell
                                             Adam S. Mitchell
                                             N.C. State Bar No. 36949
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